           Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 1 of 45




                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF KANSAS
                                                                                              FILED
                                                                                           U.S. District Court
     6t.t0VL,eI 0f!JfY'OrlJ1 '/411 /vv;;k Tr                    )                           District of Kansas


                                                                )                         FEB I 7 2022
                                                                )
                                                                                   Clerk, U.S. District Court
                                                                )                  By~                  Deputy Clerk
                                                                )
(Enter above the full name of the Plaintiff(s)                  )
                                                                )
vs.                                                             )
                                                                              6:22-cv-1048-TC-KGG
                                                                    Case Number_ _ _ _ _ _ __

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Name                  --,-                 (["r;.--;ve-5   I )
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Street and number          ,t,                                  )
w; l Jtjh_ J     t,        ~J                    61J-u J        )
City                       State                   ZipCode )

(Enter above the full name and address of the
Defendant in this action - list the name and
address of any additional defendants on the back
side of this sheet).
                                                 CIVIL COMPLAINT

I.         Parties to this civil action:

           (In item A below, place your name in the first blank and place your present address in the
           second blank. Do the same for additional plaintiffs, if any, on the back side of this sheet).

           A.      Name of plaintiff  (j/i b,lt/ /}-y 11//,,.Dv,tA
                   Address       Jl 45 J /tvol!)//( l wvWJ          0




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      Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 2 of 45




      (In item B below, write the full name of the defendant in the first blank. In the second
      blank, write the official position of the defendant. Use item C for the names and positions
      of any additional defendants).

      B.       Defendant     L.      E, vt\/ l >         ("'-.R L1 'D bJ                                      IS


               employed at    Ii-fl ~5 ~           th)~                jlrfr;> (


      c.       Additional Defendants            /;J .'t,4 ir<   ,,kll\.l,tl~ Ly7.-V 1
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II.   Junsd1ct1on:                  '(} · ·

      (Complete one or more of the following subparagraphs, A. , B.1 , B.2., or B.3., whichever is
      applicable.)

      A. (If Applicable) Diversity of citizenship and amount:
               1.     Plaintiff is a citizen of the State of               Ji4vv C-.1
               2.     The first-named defendant above is either
                              a. a citizen of the State of                 H, vi-5 c.J           ; or
                              b. a corporation incorporated under the laws of the State of
                                    __/4i
                                      __"f_~_ _ _ _ and having its principal place of business
                                    in a State other than the State of which plaintiff is a citizen.


               3. The second-named defendant above is either
                              a.              a citizen of the State of _        ___./0
                                                                                     ___vi!_ V____; or
                              b.              a corporation incorporated under the laws of the State of
                              _ _ _ _ _ _ and having its principal place of business in a
                              State other than the State of which plaintiff is a citizen.


               (If there are more than two defendants, set forth the foregoing information for each
               additional defendant on a separate page and attach it to this complaint.)
               Plaintiff states that the matter in controversy exceeds, exclusive of interest and
               costs, the sum of seventy-five thousand dollars ($75,000.00).


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              Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 3 of 45




                          B.     (If applicable) Jurisdiction founded on grounds other than diversity
                          (Check any of the following which apply to this case).


                                              This case arises under the following section of the Constitution of
                                              the United States or statute of the United States (28 U.S.C. §1331):
                                              Constitution, Article_ _, Section_ _ ;
                                              Statute, US Code, Title_ _, Section_ _.

                                              This case arises because of violation of the civil or equal rights,
                                              privileges, or immunities accorded to citizens of, or persons within
                                              the jurisdiction of, the United States (28 U.S.C. §1343).

                          fl3.                Other grounds (specify and state any statute which gives rise to such
                                              grounds):
                                            c.,•


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              III.        Statement of Claim: (fC.A) 11 v :s.c. .J't.,t' -?r?'J

            (State here a short and plain statement of the claim showing that plaintiff is entitled to
            relief. State what each defendant did that violated the right(s) of the plaintiff, including
            dates and places of such conduct by the defendant(s). Do not set forth legal arguments.
            If you intend to allege more than one claim, number and set forth each claim in a separate
            paragraph. Attach an additional sheet, if necessary, to set forth a short and plain statement
        J.. of the claim[s].)
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                 p   7      [/I            PM Ct( fZSJ-l'J.511...--Y•• •                         I              cl.      1t
              IV.     Relief: j'..i\..d{'1 l,,.;ci,(_ ov ,,r ,wt I, .,, 'ry fr Pc>',,,./"4o vi f ,-vu.,,, f a,-     aNI"· '~~~ .
              (State briefly exactly what judgement or relief you want from the Court. Do not make
              legal arguments.)       1)./tt,ul f 11 d_be,v-etv~  J
                                                                           3
Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 4 of 45




V.     Do you claMe wrongs alleged in your complaint are continuing to occur at the
present time? Yes · NoD

VI.    Do you claim actual damages for the acts alleged in your complaint?
       Yesp        NoD

VII.   Do you claim punitive monetary damages? Yes~            No   D

If you answered yes, state the amounts claimed and the reasons you claim you are entitled
to recover money damages.




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      Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 5 of 45




      VIII.   Administrative Procedures:

              A.
              any  fki
                    Have the claims which you make in this civil action been presented through
                     of Administrative Procedure within any government agency?
              Yes . , NoD

              B.     If you answered yes, give the date your claims were presented,
              how they were presented, and the result of that procedure:




              C.      If you answered no, give the reasons, if any, why the claims made in this
              action have not been presented through Administrative Procedures:




IX.   Related Litigation:

      Please mark the statement that pertains to this case:

                     This cause, or a substantially equivalent complaint, was previously filed in
                     this court as case number ~ •-iz,cv :fir r 111t, and assigned to the Honorable
                     Judge       1(.,,(,{c./                         01?,o - t-ti,..- f' - "Jf>t:>



       □             Neither this cause, nor a substantially equivalent complaint, previously has
                     been filed in this court, and therefore this case may be opened as an original
                     proceeding.




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                                                    Name (Print or Type)

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                                                    Address




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       Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 6 of 45




                                                 City        State      Zip Code


                                                 Telephone Number


                            DESIGNATION OF PLACE OF TRIAL

Plaintiff designates 1 Jszlwichita, []Kansas City, or QTopeka} , Kansas as the
                                        (Select One)
location for the trial in this matter.


                                                 Sign~


                             REQUEST FOR TRIAL BY JURY

Plaintiff requests trial by jury { ICJx:es or []No }
                                     (Select One)



                                                 Signa~

Dated: 2 /;  '-//I- /--..
 (Rev. I 0/15)




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                 Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 7 of 45

                                              IMPORTANT NOTICE
DUE TO YOUR RECENT ARREST OR COMMITMENT TO THE SEDGWICK COUNTY DETENTION
FACILITY ON CASE: 21CM000743, ADDITIONAL FEES HAVE BEEN ADDED TO THE CASE.

 YOUR CURRENT BALANCE ON THIS CASE IS:                        $923.58

 YOU MUST PAY THE BALANCE DUE OR THE MATTER WILL BE TURNED OVER TO A COLLECTION
 AGENCY FOR COLLECTION.

 IF YOU ARE CURRENTLY MAKING PAYMENTS ON A PAYMENT PLAN, PLEASE CONTINUE TO DO SO.
 YOU WILL NOT NEED TO SIGN UP FOR A NEW PLAN. THE ADDITIONAL FEES HAVE BEEN ADDED TO
 YOUR PAYMENT PLAN.

 IF YOUR CASE REQUIRES A COURT APPEARANCE AND REMAINS PENDING, YOU ARE NOT
 REQUIRED TO PAY THE AMOUNT ABOVE UNLESS FOUND GUILTY.
------.,- - - ---


 PAYMENTS CAN BE MADE ON-LINE BY TELEPHONE MAIL OR IN-PERSON.                                 Scan with any OR reader
  ·CASES SENT TO COLLECTIONS CAN NOW BE ~AID ON-LINE OR WITH ~HE AU;OMATED PHONE SYSTEM. to access case inf~rrn~tion
                                                                                               or pay court obligations.
     • TO PAY ON-LINE, GO TO: https://www.wichita.gov/webcourts                                   Iii               .til
    • TO PAY BY TELEPHONE, CALL (316) 268-4611, ANYTIME.
  · • TO PAY BY MAIL OR IN-PERSON, PLEASE USE THE RETURN ADDRESS.
    • CITY OF WICHITA DROP BOXES ARE ALSO AVAILABLE AT YOUR
       NEIGHBORHOOD CITY HALL AND MOST DILLON'S STORES.

 LLOW AT LEAST THREE (3) BUSINESS DAYS FOR MAIL TRAVEL TIME. PLEASE DO NOT MAIL OR
DEPOSIT CASH IN THE DROP BOX. ALSO, INCLUDE ANY CITATION OR CASE NUMBER ON THE
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                                                              GABRIEL D YANKEY
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                                                              WICHITA, KS 67218
          Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 8 of 45



                                              Municipal Court                                                            ~
                                     City of Goddard • State of Kansas • Sedgwick County
                     P.O. Box 667 • 118 N Main • Goddard, Kansas 67052 • 316-794-2441 • FAX: 316-794-2401



                                          PAYMENT AGREEMENT

NAME:       ~a~e,\                              Yal)'l,ey                         DocKET #:          £-OJ).. I coa ~ 1
BALANCE DUE: $                 !J !J:8 ·SQ                   (Fin e I Costs+ $25 installm ent fee i[app/icable).

►   The balance noted above maybe subject to change. In certai n cases, additional fees such as Court appointed attorney fees, restitution,
    rei nstatement fees, warrant fees , suspension fees; etc. may be assessed to a case.
►   Persons with Fines/Costs of $599 or less may be given a maxi um of 90 days to pay in full upon payment of a $25 installment fee. Persons
    with fin es/Costs of $600 or more may be given a max imum of 180 days to pay in full upon payment of a $25 installment fee.
    (City of Goddard Ordinance No . 754)


I agree to pay $_ _~- -- _                            today and
    D I agree to pay the remaining balance in (Monthly / Bi-Weekly I Weekly)
         installments of$                     tP-5"
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                                                                             beginning              j).//1 /,::i ;L_!)




                                                         +-'-/i~J~J.C}
    D I agree to pay the remaining balance in full by ___Lt         ,_.~ B
                                                                         =-----
    ►    If payment in fu ll is not received within 30 days from
         the agreement date, a $25 in stallment fee will apply.


Please contact the Court Clerk at 316-794-2441 for the final payment amount.
I understand in the event I am unable to make a payment as agreed upon, I am required to contact
the Goddard Municipal Court Clerk to make other arrangements; or risk the possibility of
additional action. Said action may result in a bench warrant, additional fines , suspension of
driver' s li ense and/or activation of a collection process.



Defendant Signature
                                                                                                                                  r/4/_j.t
                                                                 Date                       Witness Signare                      Date


Defendant Phone #




                                                CHANGE OF ADDRESS

Name: - - - - - - - - - - - - - - - - - - Phone: - - - - -- - - - - - -

Street
         - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - -
City: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ State : _ _ _ _ Zip Code : _ _ __
         Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 9 of 45

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                                           New message

               ro John Colver,                                                        +




                                         John Colver


                       \   I coming for you now

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                    Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 10 of 45

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                           To John Colver,                                              +


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                                    Pulling up to your house in 10.
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             1                                                         More options
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     Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 11 of 45

                2:18 "v                                        ,II LTE I   ·




            Cancel                    New message

            r          John Colver,                                        +




                                      I been locked up I ain't scared




                                                             C·lii·
                .. \      Your house

                                                Lmao pimp your choice

7i                                    But u cause problems around
~
                                      my shit

                                                    That's your choice

                          You made it my problem damaging
                   \      my cars tires

                                                           What???!!!!

                                           I didn't fuck with your car

                                How the fuck would I damage your
                                car fool?

                          I'm here let's talk

                .. \      Come on bitch

                                                           More opt ions
Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 12 of 45




       <                                    Re:Suspect
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         I still have no new updates or news in regards to the case.


         From: Desmond Yankey<                                                          >
         Sent: Wednesday, October 27, 2021 7:46 PM
         To: Long , Nick<                 >
         Subject: Suspect

                 UT ION This email originated from outside of the organization .
               o not click links or open attachments unless you recognize the
                nder and know the content is safe. _ _ _ _ _ _ _ _ _ J
         ~

         I don ' t know the name of the g uy, but '·Reil y Rellz" is the
         alias. I saw on a Snapchat acco unt he was released from jail
         recently. I' d like some kind of help plz



          Sent from Yahoo Mail for iPhonc


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                                           Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 13 of 45




                                                  <                      Re:Suspect



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Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 14 of 45

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       Re: Suspect

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          10:22 '1                                                    all LTE   ■




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                                       Kurel Hayes

                 ~   Add Friend                       0   Message


                 Went to Southeast High School

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            Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 15 of 45
            ,di cricket LTE                  2:56 PM




                                         (316) 518-1259   >
                troubfe!

                 I will be expecting him to show
                 up though

                                 You better talk to him bout his
                                 jewelry
                                                                          Delivered
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                I don't need to talk to him
     \          about anything.
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Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 16 of 45
,Ill cricket LTE            2:53 PM




                        (316) 518- 1259


    Broch I would never disrespect
    you. I'm sorry if I did. I thought
    u were saying he is crazy as in
    scary as fuck

    I meant no harm. I'm so sorry

    Wow

    Are u really going over there




    I don't want you to get into any
    trouble!

    I will be expecting him to show
    up though

                   You better talk to him bout his
                   jewelry
                                                      Delivered



                                                         0
               Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 17 of 45




                      K




                      rn let u know




                      rm II WO<lt. Sorn call you




                      Ok

                   di

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                     Broch I would,_, dll<espect
                     you. I'm s«ry d I did I thought
                     u - • saying he 11 cr1zy as on
                      sc-,yasluclc

                     I meant no harm rm so s«ry

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                     I don't want you to get       o any
                     lr'Ouble!

                     I WI I be expecting him to -
                     up though
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 7
           \     There's your jewelry pussy
                                                           .-. .


 ~               Now see me
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                              Tap to load

                                                    n       a cha   fJ
                         Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 18 of 45
                         ■ 111   T-Mobile '4:"              10 :26 PM               "v 31%   ■      ·

                                 i     Lindsay                                                  >
                         LINDSAY
                         f   Lemme pull on that nigga dick

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      Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 19 of 45




      ME
      I 1645 s Woodlawn
      BROCH
          Lmao i thought yo broke ass could pay $40
          back to ... you asked me to get it back you
          dumb bitch
          Tf I look like wearing that fake ass shit
          lmma keep it tho
.,.
          And beat your ass
J
      ME
      I   I   - I   - -- - • - - .1..L ! -- I - .1.. L -   .1..   I. - I - -   -- - - - -



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     Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 20 of 45
     ,Ill T-Mobile   ~           2:13 AM


      <
                                Lindsay

                                     Such a dumb bimbo

                             I'm not gonna threaten u, I
                             need my shit back plz

                                                   Racist ass

                          I'll get that back I ain 't trippin

                                              Hhhhahahaha
-.
         You slinging a Iii coke? Is that
         what u call A past? Loi You're a
         spoiled ass bitch. I've never
         liked niggers-and you are the
         PRIME example

         Of a nigger!

         U fucking wannabe. You're a
         cock sucking joke!

                         I know be u had a Iii Mexican
                         that be show u something 's, u
           Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 21 of 45




t
t        Yea how else would my BM know
:t-.     about the piss tests
r,:,,


~        Uthe onl one that knew dumbass
,cr--                                                                           ~
 'IS""                                                                          ~
\f"                                                                              ,
               don't give a fuk how                                             ('
                                                                                '\
 ~            about your piss test I
              know the truth abo                                                 '
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         Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 22 of 45



                        +1 (316) 706 - 3170   >




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     I'm not sure.

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                   Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 23 of 45



           He knows I talked to you be
          your attorney knew he had
          failed several UAs and said only
          I knew that and was helping
          you ..

          HjS probation is up in a few
          weeks ..




          I obviously denied that I have
          talked to you for fear of further
f         retaliation .. so if that wver
~         comes up please don't ever say
          that we talk
r,
C

......I
 0
                                        For her to disclose anything
-
...t
  I
                                        like that

..s--                                             I won't I PROMISE u that
i
~



L,,~,µ,-    (4J'' - 1( ~l--   -<,- I ,11 - Jt,!N - 'T'.Jf   ------,,___,-~~~~----.:..~-
                        Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 24 of 45
                                            +1 (316) 706-3170     >




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  ~                                                                                         f'\
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'-S"'                                                                                       ~

 ~
  ~
                Yea just trying to not get                                                  --'
                                                                                             Q

                                                                                            .t.
               caught back up in his
~                                                                              ,.
::;-
 ,.._
   ~
               negativity.. he is so mean and
               nasty still. Just giving you a
                                                                                            °'
                                                                                            ~
                                                                                            ~
-{
                                                                                            ~'
                                                                                             ~
  ~            heads up be he will probably                                                   0

  t'"          trying to start seeing your son                                                \
   \                                                                                        'r
               after probation is up.                                                       ~
                                                                                              .J
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  Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 25 of 45
                   +




You're welcome

Don't mean to worry you either
but just be prepared .. praying !
God has us!!




Same to you!                                                     ,.




Hope you and the kids are
well .. always here for you lady!!




Me and the bovs are well too!!
                 Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 26 of 45



            Same to you!




           Hope you and the kids are
           well..always here for you lady!!




          Me and the boys are well too!!




          Thanks you guys have a great
          Christmas as well!




~
\1',
~

  }:-_I   1'vc.r,,-u CCJ.U, - ' : 2. 2--   -(..,v- {o ~I,. {4W -   f5T
             Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 27 of 45
            , 1 T-Mobile Wi-Fi ~        9:25 P                              •t   (j)

            <                 Katie Dobbs
                                  seng r

                              Yea I coach the 2nd going into
~                             third. But I know all the other
~
~
........
                              older grades coaches and could
J                             point you in the right direction. I

 '
 ~
 -'\'-
 -;:.,. -
    ~
                              just took a look at your profile and
                              seen you guys play baseball with
                              one of our football kids Caden.
     0-
     ~
                              He didn't play this last year but
                              he did in first grade. He was a
                              good player just had bad anxiety
                              before games.


                      Yea that would be cool! He
                      wants to play but I want him on
                      a team where he will Excell..
                      same w this basketball.
                                                               1


                                        You still kick it with Des?

                      No ..

                      We cordial tho

                      He's just not trustworthy


              •
        Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 28 of 45
        1111 T-Mobile ~            10:0Q AM                -cy 59%

              r                     5 of 5




                    I haven't seen him since you
                    were with him.




                   Yea we have talked just haven't
                   linked up since then.




                   Thanks he shakes things up in
                   this household lol
I   I
Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 29 of 45                                                         ---i
,Ill T-Mobile   ~           10:00 AM                                                                  "v 59%

  Done                        5 of 5




                                                             __,!
                                                                    We cordial tho
                                                                    '   •     V    •   ~•
                                                                        -. ' ..;:.,.~_.;:.,..
                                                                                                       -   ''   '   ...



            I haven't seen him since you
            were with him .
                             . ,r",l'                                   ~           ~(                 ,



                           ~;; 'Fiis•"ba:byJnama·· ,1got him ·,
                           ~;!Q.G'ked up for a minute
                            ;;;-~•:...,~-•-   -.~   •   •   ,,.     ~it~-•~                     I~•




            Yea we have talked just haven't
            linked up since then.




            Thanks he shakes things up in
            this household lol



  ••
  ••
                     Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 30 of 45

                            ..
    IN THE DISTRICT COURT OF SEDGWICK COUNTY, KANSAS
    Protection from Stalking, Sexual Assault, or Human Trafficking (K.S.A. 60-31a01                 et seq.)
                                                                                                              COPY
    F.ma IO r der o fP ro t ec f100 f rom Sta lki ng, sexua I A ssau t, or H um an T ra ffiIC k.mg
    Judge or Division:                                   Case Nu mber: 202 1-DM -000695-PS

            Dd:' A7L t::='-/                             Court ORT Number:    KS087015A

    Plaintiff:                                           Protected Perso n Identifiers :                OJ
                                                                                                        -<
                                                                                                                (./)

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                                                                                                                                .......   -0
                                                                                                                                              l>

                                                          Name: Alexis J Co lver
                                                                                                               o<:; q           =
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                                                                                                                                          7J
       !Alexis Colvea                                                                                          < == ~    ....,
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                                                          Yea r of Birth 2000
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      vs.                                                                                                     ,_J> _ ,
                                                                                                              ~ r- ~
                                                                                                                            C/1           2:        r
                                                          Sex: Female                                                                     0         fTJ
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                                                                                                                            -,r;>
                                                                                                                                              ~
                                                                                                             ~     ~ L.J
    Defe ndant:                                          Defendant Identifiers:                              u; c==; c:
                                                                                                             ;p.~ ::V
                                                                                                             C/)       ~    C/1
                                                                                                                            ~




        !Gabriel D Y ankeyl                                    SEX          RACE             YOB                   HT       -             WT
                                                                M                            1986
    Address                                                   HAIR          EYES           LAST 4 DlGfTS OF SSN (IF KNOWN)
    1645 S Woodlawn
    Wichita, KS 67218

                                                            DRIVERS LICENSE#                DL STATE                   DL EXP. DATE




'
     Appearances: ·      ~ Plaintiff                    □   Defendant                          ~ Defendant Fails to Appear
                                                                                                D
                         □   Plaintiff's Attorney
                                                        □   Defendant ' s Attorney                  Other

     Protected Person : Alexis J Co lver (name)

                         This Fin al Ord er and its terms are directed at and apply to D efend ant only.

                                 This ord er shall be effective until: Februu a ry 25, 2022.
                                          ONLY THE COU RT CAN CHANGE THIS ORDER.
    The Court Finds: (Only the provision(s) initialed by the judge apply.)
    ~-d -Plaintiff fi led a written ver ified petition on 2/1 1/2021 requesting an Order of Protect ion from Stalking, Sexual
            Assau lt, or Human Trafficking. Prior to this hea rin g, Defendant was g iven reasonable notice of the date set for the
            hearing, together with a copy of th e petiti on and any ex parte order of protection from sta lking, sexua l assa ult, or
            human trafficki ng, by person al service on 2/18, 20£1.
<- ·"
    a
    ~       This court has jurisdiction over Plaintiff, Defendant and subjed matter.

            The matter was heard and submitted to the court which finds
              ~ that Defendant was personally served and failed to appear; therefore, the court grants the petition by default.
                 D
                 that the all egations of stalking, sexua l assault, or human trafficking are proven by a preponderance of the
             evidenced as required by K.S .A. 60-31 a05 .
     ~
     -t:.::f Defendant represents a credib le threat to the phys ica l safety of the Protected Presons(S).



    Rev. 7/20 19 KSJ C                                         Page I of3
                        Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 31 of 45


                                                    Lexi Colver




                                                Yeah lol I think they were watching
">                                              and waiting till we left cz it
~
~
                                                happened as soon as we got down
~                                               the street. As for the knowing
~
~                                               where to go it had to be someone
 ~(-..                                          close to him and rellz had just
 "'
 .J",
....[..
   ~
                                                came over a few hours before and
                                                was overly curious about wanting
 ?'                                             to watch him weigh it out. Or Tyler
     ""                       fl...


        i,a
                        ~
                        -
                        ,..._
                         ~ ~
                                                cz Tyler's cousin had came over a
                                                                                               """'--
    \         ~
                           '    '
                                                few nights before that to get stuff             i.::,

                                                                                                       ~
                                                                                                          t
         ~
          ~             t                       as well. And just some of his                             ~
                             '"'
                            <:'
                            ,--.
                                                "friends " catch an attitude

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                                                anytime he gets something new or
                                                something good happens. And
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~                             _,-          ~
                                                there's different people who have             ' .         <;;"'
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   ~-t~
~                        -.L
                                -               different problems with him, it just
                                 c-.
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                                           -    comes from the lifestyle                       '
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               Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 32 of 45
                                uocument: 01019107204         Date Filed: 08/12/2013     Page: 114


                                   I NSTRUCTION NO .          2
                                                            --=--


                       The   indictment    in this      case charges      substantially as
       f ollows:

                                             COUNT 18

                       On or about November 19, 2010, in the District of Kansas,
        t he defendant,

                                          DESMOND
        di d     unlawfully,      knowingly,        and       intentionally      distribute
        a pproximately 2 6      grams of a     substance or mixture containing a

        d etectable amount of cocaine, a controlled substance.

                       In violation of Title 21,            United States Code,        Section

        841(a) (1) and (b) (1) (C) and Title 18, United States Code, Section
        2.

                                             COQlft'   21
                       on or about December 9, 2010, in the District of Kansas,
         t he defendant,




         did     unlawfully,      knowingly,        and
         approximately 112 grams of a

         detectable amount of c

~
~
         841 (a) (1)
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C>

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~c .___ _ _ __

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(;)
        Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 33 of 45




                Cancel                              New message

               To: Joe Burger,                  I                                                       +

                                          harsh?

                                                Not seem it would be Be there is
                                                nothing pending

                            There is a process for
                            reinstatement. I can 't make that
                            decision just because.

                                                                             I understand

                            Or have the power to




                                                                Aa
'   .

               Q         W            E R T Y U                                                0        p
             '-----" ' - - - " '   .._______,   '------"' '----"'   ~   '---"'   .._______,   '---"'   ~




                    A          S            D          F        G    H       J            K        L
                  '-----" '------"' '---"' '------"' '---"' '-----' ' - - - " ' '-----' '---"'



                ♦              Z            X          C        V    B       N           M             G
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                     123                                     space                             return
             Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 34 of 45




                     Cancel                       New message                                       i

                    To: Joe Burger,           I                                                               +

                                           Desmond

                                No one is questioning your
                                knowledge of the game. I
                                understand that you are trying to
                                do good. Let me keep working on
                                it. Send your stuff to the email i
                                sent you. If you want to cc me you
                                can
                                jbu rger@kansasyouthsoccer.org .
..........
   c:.
   ~
     C,                         Keep on the path you are on! Keep
        I
                                doing the right thinqs.
   +                                                          ~
     '
    -\I
                                                                            Ok I'll et sent.
                                                              Aa




                    Q        W         E          R       T       Y        U                      0           p
                  '-------' '------' '------' '------' '------' '------' '------'   .._____,,   '-----../   '-..__;




                         A        S        D          F       G        H        J           K           L


                    •             Z        X          C       V        B        N          M

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          Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 35 of 45
               I

                        1:11.:;                                                            .111-::=- 1+


                      Cancel                      New message


                     To: Joe Burger,          I                                                         +
                                                                  Any news yet coach?


                                Still working through it

~                                              SEP 14, 2020, 2:10 AM
~




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u-,.1
 ~
                                               Sf:P 14, 2020, 9·19 AW'



 +'
                                                                            Potential date ?

 '-,  I
                                                   Do I need to submit anything?
 vf
 vC)


                                                               Aa




                     Q       W        E         R        T        Y         U                 0         p
                   '----' .._____, '------' '------'   '------' '------' '------' '------'   ...__,   '------'


                         A        S        D        F         G         H        J        K        L


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                                                                        B        N        M
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             Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 36 of 45




                     Cancel                          New message


                    To: Joe Burger,                                                                             +

                              our Rusk Management. Will be in
                              touch.

                                               AUG 29 2020 6 46 Afvi


                                                     If you need documentation or
                                                     anything let me know

                                                                                                Thanks
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                              I will!

~
<:                                              SE.P 13, 2020 7 16 PM


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        Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 37 of 45




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               To: Joe Burger,                 I                                                                      +

                                                          Facebook
                                         You're friends on Facebook
                                           Lives in Ely, Minnesota

                                               AUG 29, 2020, 5:59 AM


                                               Coach I sent you an email didn't
                                               know if you've received it?

                                               AUG 29, 2020, 6-29 AM


                             Yes, sorry. Working though it with
                             our Rusk Management. Will be in
                             touch.

                                               AUG 29, 2020, 6:46 AM

I   ,                                                              Aa




               Q         W           E             R        T           Y          U                      0            p

                    A           S          D           F          G           H           J          K           L
                 ' - - - - - ' '-------" . _ _ _ , , '------1 '------"' " ' - - - - ' '------1 ' - - - - - - ' .,._____,




                ♦               Z          X           C          V           B          N          M               0
                            '------' '------' '------' '------' '------' '------'                 '-----,/




                     123                                      space                                      return
      Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 38 of 45




                 Cancel                                    New message

               To: Joe Burger,                                                                                                      +

                                 It will go to our risk management
                                 committee. Email me all the info
                                 you have on that stuff. Email me
                                 at
                                 Jburger@kansasyouthsoccer.org
                                 and
                                 riskmgmt@kansasyouthsoccer.org

                                                          Screenshot and send on here?

                                                     All I have is the KYSA judgement

'.
                                 Email them




-C)
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 t,
  I
                                                                            Aa




               Q             W E                       R            T            Y            U                         0           p
            ..._______,,   '------"'   ...______.. ...______,,,   --------'   ...______..   '------"'   ...______,   '-------'   ...______,


                      A            S             D            F            G           H            J            K             L
                  '-------,1     '-----""    '----'       ...._______,   '------"'   '------'    '----'      ....._____,.    ._____,,




                +                  Z             X
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                                                              C            V            B
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Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 39 of 45
                                                                                                                                                    r,
                                                      +                                                                                        v. L .        +                        .\
                                                                         841        218 RR Donnelley 02019. All rights reserved. · 0667

                                    r ··                                                                                                                                  --,
                                    I                                                                            ca":f2o .J /(c)/'1,,; 7 f
                                    I       Uniform Complaint & Notice to Appear                                            ··            COPY OF coMPL.
                                            Munlcl~al Court, City of Wichita,
                                            Sedgwick Countf' State of Kansas
                                                                                                                     1g M Q15 81 7
                                            Page l of         Pages                                                               □ ~i~~~~~gT~n~=~EAR
                                            THE U~GNED HEREBY DECLARES UNDER PENALTY OF PERJURY THAT
                                            THE FOLLOWING IS TRUE AN CORRECT:           , 20 -,      "l J ~-                                        I
                                            ON THE   I DAY OF            I                p,,✓    AT -' I.., M


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                                        .                                                          Last Name


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                                                                                                                1                    000                              M.1.-          •·

                                                      BIRTH DATE                            AGE             RACE/SEX                   HEIGHT               WEIGHT

                                                  ' '},- ~:)):_                              {_                  \U >                  ,...    l~       C'k-J.JLP
                                                          D.l.#           \ ~ l(•          ,; Ci..~~      OO c) S                y'\     SOC. SEC. #(if different)

                                               .J     I   I   1\   c..                     Ho E. _?TRE       ~J                    7 70 c,t1cr · 'I>: 1<,.,
                                                              CITY                         STATE           ZIP                                HOME PHONE



                                                                                             Approximate Location q Offense Charged
                                            WITHIN THE CORPORATE LI ITS OFT E CITY O WI :HJTA, SEDGW CK
                                            DID OPERATE A VEHICLE: t,. •:         C          ll      l., I       1
                                                                                                                                                    co.,KS.,
                                                                                                                                                    'tS,_
                                                                 I.I    Make /'   . , ',:lode~ / ~ )    Color
                                                                               f(    )     -2..:L         /' 0 :J. /'V/, j _
                                        Vehicle License Mo. / Yr. State County   License Plate No.
                                        AND DID THEN AND THERE COMMIT THE FOLLOWING OFFENSE(S):
                                        □ Speed _ _ ___ MPH in a._ _ _-=MPH ZONE Radar# _ _ _ __
                                               11 .24.__ _ _ _ _                                      D   School Zone 11 .20.150

                                                                                                      §
                                                                                                      D


                                        ~
                                               No D.L. in Poss. 11 .42.010                                No Proof Ins. 11_13 .01o(d)
                                               D.L. Restrict. 11 .42.035(a)
                                               Drive While Susp. 11.42.030(c)                         Run Stop Sign 11 .36.020(c)                           0 _                  .,_
                                               Seat Belt Viol. 11 ,38.285__                           Run Red Light 11 ,20,060(c)__                               -              ·
                                               Child<4 Restr. 11 .38.370(a)__
                                               Defective Equipment Viol.
                                               11 .60,_ _ __ _ _ _ _
                                                                                                          §
                                                                                                      Fail Yield ROW at
                                                                                                           Left Tum 11 .28.060
                                                                                                           Stop Sign 11.36.040(b)
                                                                                                                                                            I-" -

                                                                                                                                                            c,n  ~
                                                                                                                                                                  = ·            ,:


                                        □      Auto License Viol. 11 .38.300__                             Yield Sign 11 .36,040(c)                         00_-
                                                                                                   □ Improper Turn 11 .28,_ _
                                                                                                      D                                                                          t
                                        ~
                                               Inattentive Driving 11 ,38.175                         Drive Under Influence Alco JDrug                      I-"
                                               Careless Drive 11.38, 170                              .08% or more b.a.t. :
                                               Reckless Drive 11.38,160(8)                            11.38,1SO(a)         - --                             --.J :::;;;;:;;:::
                                               Transport Open Container
                                               11.38.158(b)                -    /
                                                                                                      D
                                                                                                      Cannot operate veh. safely
                                                                                                  / / 11 ,38.150(a) _ _ _ _
                                                                                                                                                            *---- --'c
                                        D      OtherViolati~             ti/t-0.::                f'c, 1< C...
                                             Contrary to Section(s):_ _             /~/---'/_&
                                                                                             =--_ '?_S.c.O_("C
                                                                                                             """)'--- - - - - - -
                                             of the Code al the City ol Wichita, Kansas.


                                I§
                                                ACCIDENT
                                                Property Damage                     D     Commercial Veh,                 D, Video
                                I               Personal Injury                     D     Trans, Haz. Matter          ~ Booked to Jail                                .....L '
                                I                                                                                                                                     co -·
                                        D       Notice to Appear Date _ _ _ _ _ _ Time _ _ _ _ __
                                                                                                                                                                      s:
                                                                                                                                                                      C) ·
                                        YOU ARE HEREBY SUMMONED TO APPEAR AND/OR RESPOND TO THIS CITATION
                                        WITHIN TEN (10) DAYS AFTER ISSUANCE.
                                                                                         / ~
                                                                                             ,      ~                            I                                    ~          '
                                        (see reverse side of ticket fo/ r ~ s\fuction )'         . / ,:::                                                             0,
                                        Officer's Signature:                   _ 1_ 1n             , Al/                                I.D.#               '/'i~
                                                                                                  I                                                                   CX)
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Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 40 of 45


                               I_                             841            218 RR Donnelley Cl:1019. All rights reserved.: 0667




                                    Uniform Complaint & Notice to Appear
                                                                                                                          WPD
                                                                                                                   c ase No.:
                                                                                                                                               \...       ) I .;            I
                                                                                                                                               COPY OF COMPL.
                                    Municipal Court, City of Wichita,                                                     1g MQ15 816
                                    Sedgwic Cou ty, State of Kansas                                                                            & NoTic~ TO APPEAR
                                    Page      of      Pages                                                                              D Sign Lang. lnterp.
                                    THE UNDERSIGNED HEREBY DECLARES UNDER PENALTY OF PERJURY THAT
                                    THE FOLLOWING IS TRUE AND CORREQT:
                                    ON THE   I DAY OF        1 , (  \                 20~
                                                                                          :, I
                                                                                               AT ~
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                                    I I>1 Jnl} I(l~I' IJI~ I I I I I I I I TI                      Last Name


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                                                                                                First Nall!,•                                                                     M.I.
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                                               BIRTH DATE                               AGE                  RACE/SEX                        HEIGHT                 WEIGHT

                                                                                        C                          \ S                       > \ .... O'.o             J;, ,
                                                                               -         GLASS           1    1 STATj           \             SOC. SEC. #(if different)
                                                                         '   I-                         ·"--' .JC                       C.    ~J ~

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                                                      CITY                          s;rATEj         .. , 21 !;'.                               HOME PHONE
                                                                    (_              (1 ,,           .,_-(,,
                                                             r      BUSINESS ~                ME/ADDREs,srTELEPHONE
                                    did unlawfully at: - - '''---,,..             ~,__ _.!{
                                                                       ; ~)a<..-_.::,
                                                                   ----'-                 ,.._,__.../_,_L
                                                                                                        __.,,_,._~
                                                                                                                 .,.,, ___________
                                                                                 Approximate Location of-Offense Charged
                                    WITHIN THE CORPORATE LIMITS OF THE CITY OF., W CHITA, SEDGW                                I IC~ CO., KS.,
                                                                                                                        1
                                    DID OPERATE A VEHICLE: I, .I .                    )          -., Ii k.                I, )     ~t..
                                                                             Make              1     ~ odel, ),                Color    J)
                                                                                            1
                                    Vehicle License Mo. / Yr.~ County        License Plate No.
                                    AND DID THEN AND THERE COMMIT THE FOLLOWING OFFENSE(S):
                                    □ Speed_ _ _ _ _MPH in a._ _ _=MPH ZONE Radar#_                                                           _ __
                                           11 .24.                                                 D School Zone 11.20.150
                                                                                                   §
                                                                                                   D No Proof Ins. 11 .13.010~

                                    ~
                                           No D.L. In Poss. 11.42.0lO



                                                                                                                                                                        ==
                                           D.L Restrict. 11 .42.035(a)
                                           Drive While Susp. 11 .42.030(c)                              Run Stop Sign 11 .36.020(c)                                 O

                                                                                                       B
                                           Seal Bell Viol. 11.38.285__                                  Run Red Light 11.20.060(c) _                       _
                                                                                                                                                                    ~
                                                                                                                                                                    (X)==
                                           Child<4 Restr. 11.38.370{a)__                                Fall Yield ROW at
                                           Defective Equipment Viol.                                          Left Turn 11 .28.060
                                           l1. 60.   .                                                      , Stop Sign 11 .36.040(b)                               u, -
                                    rs;(
                                    ~ Auto License Viol. 11 .38.300 I'
                                                J1 '           • •                rr-              B          Yield Sign 11 .36.040(c)
                                                                                                        Improper Turn 11 .28._ __
                                                                                                                                                                     ~




                                    ~
                                           Inattentive Driving 11 .38.175 ,·                            Drive Under Influence Alco./Drug                            ~_
                                           Careless Drive 11 .38.170__                                  .08% or more b.a.t.:                                         -
                                                                                                                                                                    01-
                                       A
                                           Reckless Drive 11.38.160(a)
                                           Transport Open Container
                                           11 .38.158(b)          '                r          L'
                                                                                                   D
                                                                                                        11 .38.150(a)

                                                                                                        11.38.150(a
                                                                                                                            ---
                                                                                                        Cannot operate veh. safely
                                                                                                                                L                     X '\ - - -
                                                                                                                                                                    *-
                                    ~      OtherViolati~            \<~ ;r_~,(                                      1:>             _, \              _    c,L,..
                                     Contrary to Section(s):_ _ _/_ / _ _ _ _ _..c.
                                                                                 _;_                               ._·1---')________
                                     of the Code of the City of Wichita, Kansas.


                                    §      ACCIDENT
                                           Property Damage
                                           Personal Injury
                                                                             8     Commercial Veh.
                                                                                   Trans. Haz. Matter
                                                                                                                                        Video
                                                                                                                                        Booked to Jail                            --L
                                                                                                                                                                                  c.o
                                    D      Notice to Appear Date _ _ _ _ _ _ nme _ _ _ _ __
                                                                                                                                                                                  ~
                                    YOU ARE HEREBY SUMMONED TO APPEAR AND/OR RESPOND TO THIS CITATION
                                                                                                                                                                                  0
                                    WITHIN TEN (10) DAYS AFTER ISSUANCE,           '                                                    I                       I                 ~
                                    (see reverse side of ticket for lnstru ·ons) I
                                    Otticer's Signature:            I' h          I ,
                                                                                     '-------'
                                                                                            I,<./ I                                           I.D.#            I I (
                                                                                                                                                                                  u,
                                                                                                                                                                                  (X)
                                                ·sAep (o () ua1 u11a~O!I s141 01 puodsa, 01 es,wo,d ,noA pue 10~011s14110 1d,aaaJ
                                                              sa6pa1Mou~ae AIUO 1nq 'mn6 10 uo1ss1wpe ue 1ou S! em1eu61s JnOA
                                                                               (  ~ 1      1 ,        :aJnlBU6!S s ,pasnoov
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                                                                                                                                                                                  O')
Case 6:22-cv-01048-TC-KGG Document              1 Filed 02/17/22 Page 41 of 45
                           Url1form Not1ce to Appear and Complaint          ~ COPY OF COM-PL.
                                    EASTBOROUGH POLICE DEPARTMENT
                                    Muni-:ipal Cc,\-t City or Eastborough
                                    Seo,JW.ck Count),,State of Kansas, SS:
                                    THf UNDERSIGNED HEREBY DECLARES UNDER
                                    PF.l'lALTY Of.J>l;RJURY THAT THE FOLLOWING
                                                                                                                                              0756
                                    1s/ TRUE ""~ORRECT:                                        NOTICE TO APPEAR
                                    ON THE_ _ _ _DAY OF _ _ _ _ _ _ _ - - - - ~ A T_ _ _ _ _ _ _ _ _ _ HOURS



                                    i"   E r o r h, 1S•drk           r"rT·· I I I I I I I I I I I I I
                                                                                                 Last Name




                                    IIIIIIIIIIIIIIIII                            First Name                                                           □
                                                                                                                                                  Middle Initial



                                    STREET ADDRESS


                                    CITY                              STATE                            ZIP                                PHONE


                                    BIRTH DATE                        RACE/SEX                         HT.                WT.             HAIR             EYES


                                    DR. UC. #                                                                             STATE                           CLASS


                                    YR .              MAKE                MODEL                        STYLE                              COLOR                    z
                                                                                                                                                                   ~

                                                                                                                                                                   ~
                                    LICENSE#                                                           STATE                              YR .
                                    DID UNLAWF ULLY AT



                                    WITHIN THE CORPORATE LI MI TS OF THE ABOVE NAMED CITY, COUNTY ANO STATE, OPERATE
                                    A VEHIC LE AND 010 THEN ANO THERE COMMIT THE FOLLOWING .

                                    D      Speeding Drive                        MPH in a                          MPH zone         Radar#
                                    D      Run Stop Sign                 D    School Zone                    D     Turn Violation
                                    D      Inattentive Driving           D    Driver's Lie. Violation
                                    D      Restraint Violation           D    Rur. Red Li;ht                 D     Failed to Yield ROW
                                    D      Auto Tag Violation            D    No Proof of Liability Insurance
                                    D      Suspended I Cancelled / Revoked
                                    D      Other Violation


                                    D      Accident          D       Prop. Damage               D     Pers. Injury              D    Comme rcial Vehicle
                                                                                                                                                           •
                                    D      Transporting Hazardous Material                      D    Notice to Appear           0   Booked


                                    CONTRARY
                                    TO ORDINANCE _ _ _ __                        SECTION($)_ _ _ _ _ _ _ _ _ _ _ _ __


                                    OF THE CODE OF THE CITY OF EASTBOROUGH. KANSAS YOU ARE HEREBY SUMMONED TO APPEAR

                                    BEFORE THE CITY COURT OF EASTBOROUGH. KANSAS AT 1 DOUGLAS ON THE _ _ _ _ _ _ DAY OF

                                                                                                                      _ _ _ _ _ _ _ AT s·oo P.M. TO
                                    ANSWER THE ABOVE COMPLAINT.

                                    OFFICER'S
                                    SIGNATURE_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _I.D. NO. _ _ _ _ __



                                    CLERK OF THE MUNICIPAL COURT                                                                 DEP.

                                    WARRANT FILED THIS DATE _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                              ~
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                                                                                                                                                           X    '1
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                                                                                                                                             3l:lnl.VN~IS
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                                                                                                                                                                0\


                                                                         FI NE _ _ _ _ _ _ _ _ _ __

                                                                             0     COURT APPEARANCE REQUIRED

                                                                 0    10 WORKING DAYS TO PROVIDE PROOF OF INSURANCE



                                    CASE NO. _ _ _ _ _ _ _ _ _ _ __
Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 42 of 45
                                                                                                      WPD
                                Uniform Complaint & Notice to Appear                                Case No.:              COPY OF COMPL.
                                Municipal Court, City of Wichita,                                      19 M Q15 818
                                Sedgwick County, State of Kansas                                                           & NoT,cE To APPEAR
                                Page-3.._of~      Pages                                                             D Sign Lang. lnterp.
                                THE UNDERSIGNED HEREBY DECLARES UNDER PENALTY OF PERJUR Y THAT
                                THE FOLLOll>tlNG IS TRUE AND OAR E if:                        ..) / /
                                ON THE_ _, _DAY OF           ?r                  , 2o cJ ( AT ·                                                    M




                                [T;l,. 161, 1,1/ 11I 111 1 1 1 1 11 1 [0J          First Na")~ /                                                M.I.
                                ___)__5__(_(._________                                         U t Pl
                                           BIRTH DATE                       AGE                RACE/SEX               HEIGHT              WEIGHT

                                    I              7S-                                                                ,.- I
                                                   D.L.#

                                           •            l                 HOC.
                                                                            ME; STREET ADDA SS                         ,
                                -~__,_,~'~'~t~------ ..1!::..2..                          /,    /J       "_ _ _1 _ _ _ _ _ _ _ __
                                                    CITY                   STATE              ZIP                          HOME PHONE

                                                           BUSINESS NAME/A DRE S/TELEPHONE
                                did unlawfully at: _ _ _ _ _)_-~
                                                               -,.~-~;-~~-"- - ~V_.,_~ / _"7(_,,·~f _ _ _ _ _ _ _ _ _ _ __
                                                                        Approximate Locatio6,6f Offense Charged
                                WITHIN THE CORPORATE LIMITS OF T)HE CITY OF IC.HITA, SEO W CK 1CO., KS.,
                                DID OPERATE A VEHICLF· /i·U,. , ,              >    .,. . I (                   I-<.
                                          .-                        j(    Make (               i '/',3d; 1) J, '<   t)     Color
                                Vehicle License Mo. / Yr. State County   License Plate No.
                                AND DID THEN AND THERE COMMIT THE FOLLOWING OFFENSE(S):
                                0       Speed_ _ _ _ _ MPH in • - --               =MPH ZONE Radar#_ _ _ __
                                     11 .24·--,-,,---,--,-,-,-                      0     School Zone 11 .20.150

                                                                                    §O
                                ~
                                     No D.L. in Poss. 11 .42.010                          No Proof Ins. 11 .13.010;,-
                                     D.L. Restrict. 11 .42.035(a)
                                     Drive.While Susp. 11.42.030(c)                       Run Stop Sign 11.36.020(c)
                                     Seat Belt Viol. 11 .38.285__                         Run Red Light 11.20.060(c)_ _
                                     Child<4 Restr. 11 .38.370(a)__
                                     Defective Equipment Viol.      ·•                   §~:~id~:~~-.;~--~!~\~
                                                                                          Fail Yield ROW at
                                                                                               Left Turn 1,1 .28.060 ..


                                0
                                     11 .60._ _ __ _ _ __
                                     Auto License Viol. 11.38.300__                 B     Improper Turn 11.28._ _


                                §O   Inattentive Driving 11 .38. 175
                                     Careless Drive 11.38.170
                                    •Reckless Drive 11.38.160(8)
                                     Transport Open Container                       O
                                                                                          Drive Under Influence Alco./Drug
                                                                                          .08% or more b.a.t. :
                                                                                          11.38.150(a)_ _ _-_- - -
                                                                                          Cannot operate ve h. safely
                                     11 .38.158(b)_ _ --.-           /                    11 .38.1 O(a) l-
                                                                                                        1 _ _ __
                                0  Other Violations:_ _ ~/ ~ "'~• - ~ - - - - ~' -~- -~/- - ~•~ \ _ _ _ __
                                                                      _ _ _.,.__J_r_,_ )________
                                 Contrary to Section(s):_ _ _ _/_ /__,.,
                                 of the Code of th e City of Wichita, Kansas.


                                §       ACCIDENT
                                        Property Damage
                                        Personal Injury
                                                                    D
                                                                    O
                                                                          Commercial Veh.
                                                                          Trans. Haz. Matter
                                                                                                                    Vid eo
                                                                                                                    Booked to Jail              --I,.

                                                                                                                                                c.o
                                0       Notice to Appear Date _ _ _ _ _ _ _ Time _ _ _ _ _ __
                                                                                                                                                s:
                                                                                                                                                <..:.,;
                                YOU ARE HEREBY SUMMONED TO APPEAR AND/OR RESPOND TO THIS CITATION
                                WITHIN TEN (10) DAYS AFTER ISSUANCE.
                                (see reverse side of ticket for instructions)  ' - - - ~~-!
                                                                                                                I                    I          ~
                                Officer's Signature:          N,,I I          t     "
                                                                                  I.D.# - ,/                                          r         U1
                                               'SAep (or) uai UJ l 8~0Jl S[4l Ol puodsaJ Ol 8S[WOJd JnOA pue 1•~011 SJ41 jO 1d1aoaJ
                                                                                                                                                00
                                                           sa6pa1Mou~oe AIUO 1nq '11Jn6,10 uo1ss1wpe ue Iou s1 am1eu61s moA                     J-,J,,
                                                                          ' /      , ., , {             :amreu61s s,pasn:nv                     CX)
                                                                                                                                                       _,
Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 43 of 45
                                                                                                   WPD
                                     Uniform Complaint & Notice to Appear                        Case No.:       COPY OF COMPL.
                                    Munici~al Court, City of Wichita,                              19M Q2 814 2
                                    Sedgw1c Coun , State of Kansas                                               & NOTl~E TO APPEAR
                                    Page___of___Pages                                                        D Sign Lang. lnterp.
                                    THE UNDERSIGNED HEREBY DECLARES UNDER PENALTY OF PERJURY THAJ:..,./)-,                              \
                                    THE FOLLO I   IS TRUE ND~ opEqr:                    --,     c_;,v -              o
                                    ON THE       DAY OF               L              ,20       AT                                           M


                                    I DMJ q 6hI I $ RI I I TT I I IJ
                                                                 1
                                                                                   Last Name




                                                                                                                SOC. SEC. #(if different)

                                         , -v , I'    L'                       E   TR EET ADDRESS

                                                     CITY                  STATE          ZIP
                                                                                                       - -- --  - - - -- - -
                                                                                                             HOME PHONE




                                     Contrary to Section(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                     of the Code of the City of Wichita, Kansas.


                                    §    ACCIDENT
                                         Property Damage
                                         Personal Injury
                                                                     B    Commercial Veh.
                                                                          Trans. Haz. Matter
                                                                                                    .....
                                                                                                              "deo
                                                                                                             Booked to Jail            __..
                                                                                                                                       co
                                    D    Notice to Appear Date _ _ _ _ __                Time _ __ _ _ _
                                                                                                                                       s::
                                    YOU ARE HEREBY SUMMONED TO APPEAR AND/OR RESPOND TO THI S CITATION
                                    WITHIN TEN (10) DAYS AFTER ISSUANCE.                     C               I :;., .s A1 I
                                    (see reverse side of ticket for j~stfuctions) . ~ - -- - ..,....
                              I     Officer' s Signature:      a,,,       t"       -         ·                  1.0 .# 7 '(    r   I
                                             ·s,lep (O () u01-, . 10~011 S!41 01 puods0J 01 as1w0Jd ,no,\ pue 10~0,1 S!41 10 1d10oa,


                              II_
                                                            sa6pa1Mou~oe ,l1uo 1nq 'mn6 10 uo,ss1wpe ue 1ou S! am1eu61s moA
                                                                                                     :amieu6is s,pasnoov
           Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 44 of 45
      --· -· - -·

            DEFENDANT'S NAME                         □ DOMESTIC VIOLENCE                     1111111111111111111111111111111111111111111111111.:
• UNIFORM CRIMINAL COMPLAINT AND NOTICE TO APPEAR •                                          * 1 1 D 3 3 D 4 4 ~
      Muni~ipal Court
      City of Wichita                      FIRST APPEARANCE COPY                      Complaint No.       1                     44
      Sedgwick County                                                                          · __{_(_ _ _-,--_/...:.._t_
                                                                                     Docket No._
       ~


The ur. iersigned declares, under penalty of perjury, that the following is true and correct: that on the
_ _ _, _ day of               1                             · _ _ _ at --''--- M.
NAME _ _ _ _ _ _            --=,.:....:....c~-'---------
                                                 ADDRESS _ _ _ _ ____:___ _ _ _ _ _ _:......:__ _
                                                                                                /<_, __
RACE/SEX _ _ DOB - - - - - " ' - - PHONE NO. _ _ _ _ _ _ _ CITY _ =-..:--=..:._:_-=-c_ _ STATE __
SS # _ _ _ _ _ _ _ _ _ _ __        BUSINESS ADDRESS _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
DID AT _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
CITY OF WICHITA, SEDGWICK COUNTY, KANSAS, then and there unlawfully:
D    PETIT THEFT
     With intent to deprive the owner permanently of possession, use, or benefit of property by obtaining or exerting unauthorized
     control of property or services having a value of less than $1,500
     To wit: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ __

      Value: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
      Belonging to _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      CONTRARY TO ORDINANCE NO. 5.42.010a OF THE CODE OF THE CITY OF WICHITA.

□
      POSSESSION OF DRUG PARAPHERNALIA ILLEGAL '
      Did use or possess with intent to use drug paraphernalia: to use, store, contain , conceal, inject, ingest, inhale, or otherwise
      introduce into the human body a controlled substance in violation of the uniform controlled substances act.
      To wit: _ ___;__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      CONTRARY TO ORDINANCE NO. 5.26.030(a)(2) OF THE CODE OF THE CITY OF WICHITA.
I:]   OTHER
       t




      CONTRARY TO ORDINANCE NO. _ _ _ _ _ _ _ _ _ _ _ _ OF THE CODE OF THE CITY OF WICHITA.
                0 OFFICER COMPLAINING WITNESS      D CIVILIAN COMPLAINING WITNESS
                                      ,,
                '    l                     / /   /
                SIGNATURE OF OFFICER                                                                               COMPLAINANT

      EXECUTED ON (date) _ _ _ _ _ _ _ _ _ _ _ _ _ __
      SUBSCRIBED AND SWORN TO BEFORE ME, THIS _ _ DAY OF _ _ _ _ _ _ _--'----- _ _ _ __

      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __;__ _ _ _ Court Clerk P.T. Deputy Court Clerk

                                                     NOTICE TO APPEAR
THE CITY OF WICHITA, KANSAS~ To the Above-Named person:
  You are hereby summoned to appear before the Municipal Court of Wichita, Kansas at 455 North Main, 3rd Floor, on the
                   .              V                                   I
_ _ day of                      /              , - - - - , at _ _ _ _ _ _ _ M., to answer to the above complaint.
  If you fail to appear, a Warra t...will be issued for ybur rrest. /
  Dated:_ _ _ _ _ _ _-'-_ _,.,___ _ _..-.<.,,.._...,,,__ , _ _ _ _ . ----==,.,.,..,,==~==-==-----
                            '                  '  ------                          SIGNATURE OF OFFICER
                                 .,
I AGREE TO APPEAR IN MUNICIPAL CO RT AT THE STATED TIME AND PLACE AND HAVE BEEN SERVED MY COPY OF THE COMPLAINT.




Form 15-225R7/17         www.wichita.gov                                        SIGNATURE OF ACCUSED PERSON
                    Case 6:22-cv-01048-TC-KGG Document 1 Filed 02/17/22 Page 45 of 45

           UNIFORM NOTICE TO APPEAR AND COMPLAINT
                                                                                                                  KANSAS HIGHWAY PATROL
                         Kansas Highway Patrol
                                                                                                            SERVICE - COURTESY - PROTECTION
     Case No. _ _ _ _ _County - Judic ial District_18_-_S_G_ _ __
                                                                                                               www.KansasHighwayPatrol.org
                              State of Kansas
                    County of SEDGWICK                                                                                 READ CAREFULLY
 The Undersigned , Being Duly Sworn, Upon their Oath , Deposes and Says:                             INFRACTION
   On the_11_day of January         2022       at22:38            (Time)                             If you have been charged with violating a state
 Last Name, Suffix: Y_A_N_K_E_Y_ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                        statute that is an infraction, you have a right to
 First: GABRIEL                 Middle: DESMOND JR                                                   appear, a right to plead not guilty and a right to a trial.
 Street Address: 1645 S WOODLAWN BLVD
                                                       -------------                                 However, if you do not wish to appear or plead not
 City: WICHITA                       State : KS     Zip Code · 6_7_2_1_8_ __                         guilty, you may enter a written appearance, waive
 DOB: 2/5/1986                     Sex: M            Wt: 185    Ht: 6' 0"                            your right to trial , enter a plea of guilty OR no contest
                                         ----                        ----                            and pay the specified FINE AND DOCKET FEE by
 DL State: KS    DL No: K01353212                               □COL
                                                                                                     mailing your CHECK OR MONEY ORDER ONLY to
 Within the limits of the above named county and state at                                            the District Court identified to the left or by going to:
 Location:WB 7900 BLOCK W 13TH ST N                                                                              www.citepayusa.com/ks
 Did Unlawfully Operate a Year: 2010         Make: MERCEDES-BENZ                                                 Appearance, Plea and Waiver
 Model: CL550                      VIN : WDDEJ8GB9AA024954
                                                                                                     I, the undersigned, do hereby enter my appearance
 Lie. No: 609NCD                    Lie. Yr: 2021  Lie. State: KS
               ---------                                                               -----         on the complaint of the infraction violation(s) on th is
                                                                                                     Notice to Appear. I have been informed of my right
 And did then and there commit the fo llowing :                                                      to trial , that my signature on this plea of guilty will
 lJAccident □Commercial Veh . LJHaz. Mat. Ucon . Zone □School Zone                                   have the same force and effect as a judgment of the
 Speeding □ Pace llLlRadar LJStopwatch LJLidar lJAircraft □Other                                     court, and that this record will be sent to the licensing
                                                                                                     authority of th is state or the state where I received my
 Alleged Speed 54   Legal Speed 40 ID No.
                                                                                                     license to drive. I do hereby PLEAD GUilTY/NO
          E002973776         1[]Infr. □ M isdemeanor □ Felony Dunk. Severity                         CONTEST to said violation as charged and WAIVE
   1      Violation : OPER VEH IN EXCESS OF MAXIMUM LAWFUL SPEED                                     my right to a hearing by the court or jury and agree
          Section No. 08-1558                          COURT                                         to pay the penalty prescribed for the violation .
          KAR No.                          CFR No.                                                             □GUILTY           □ NO CONTEST
          E002973777              Unf. lx.JMisdemeanor lJFelony LJUnk. Severity
   2      Violation : OPER UNREG VEH         EXP TAG OR NO PLATE INCL >2M TRAILER                    SIGNATURE
          Section No. 08-0142(1)                                   COURT                                            --------------
                                                                                                     Fa iIu re to appear in court o; contact the court at th e
          KAR No.                               CFR No.                                              time specified on this Notice to Appear may result in
          E002973778         □ Inf. IKlMisdemeanor □ Felony Dunk Severity                            a warrant being issued for your arrest and will result
   3      Violation: DRIVING IN VIOL OF COURT ORDERED DL RESTRICTIONS                                in the suspension or revocation of driving privileges.
          Section No. 08-0292                                      COURT                             MISDEMEANOR
          KAR No.                               CFR No.                                              If you have been charged with violating a state
          E002973779         IKJlnf. □ Misdemeanor LJFelony LJUnk. Severity                          statute that is a misdemeanor, you have a right to
   4      Violation : MOTOR VEH NOT EQUIPT WITH REQ 'D /DFCTV HEAD LAMPS                             appear, a right to plead not guilty and a right to a
          Section No. 08-1705                                      Warning                           trial. In cases of misdemeanor violations you are
                                                                                                     required to contact the court listed on this Notice to
          KAR No.                               CFR No.                                              Notice to Appear by telephone, by mail , appear in
                                  □ Inf. □ Misdem eanor □ Felony □ Unk. Severity                     person or have an attorney represent you to enter a
   5      Violation:                                                                                 plea to the charge.
          Section No.                                                                                ALL TRAFFIC FINES FOR VIOLATIONS OF STATE
          KAR No.                               CFR No.                                              LAW ARE PAID INTO THE STATE TREASURY TO
                                                                                                     BE CREDITED TO T HE STATE GENERAL FUND.
                     □ Inf. □ Misdemeanor □ Felony LJUnk. Severity
   6   Violation :                                                                                   THIS COPY OF THE NOTICE TO APPEAR SERVES
       Section No.                                                                                   AS A RECEIPT FOR ANY BOND POSTED.
       KAR No.                  CFR No.                                                              K.S.A. 8-2119(d): A person being charged by a law
                                                                                                     enforcement officer shall be deemed to have signed
 ix.JMUST APPEAR In court If marked   Docket Fee         I                                           a citation or notice to appear as provided in K.S.A.
                                                             Total Due COURT                         8-2106 and 8-2107 , and amendments thereto, if the
 NOTICE TO APPEAR: Must appear on or before:                                                         person physically signs the paper citation or notice to
                   2/10/2022 at 8:30 AM                                                              appear document or, in the case of an electronic
                                                                                                     citation or notice to appear, verbally acknowledges
 SEDGWICK COUNTY DISTRICT COURT                                                                      that the person promises to appear on or before the
 Mail. Addr:                                                                                         date set at or with the designated court. To secure a
 525 N MAIN 7TH FLOOR                                        Bond Amount:$-'--------                 verbal promise to appear, the law enforcement
 WICHITA KS 672033773                                                                                officer shall ask,
 Phys. Addr.
 525 N MAIN 5TH FLOOR                                        Clerk Phone: (316) 660-9150               "Do you agree to appear before the __ court
 WICHITA KS 672033773                                        Fax Number: (316) 941-5360                            on or before (date)?"
 Pay Online: www.cltepayusa.com/ks                                                                   The officer shall accurately record the response of
                                                                                                     the person being charged as:
Resolution: Signed Personal Recognizance                                                                           Yes, No or No Response.
Officer: ERIVES L.                   No. _48_0_ _ _ _ _ _ _ __
                                                                                                         SEATBELTS - We enforce because we care.
Asst. Officer: _ _ _ _ _ _ _ _ _ _ No. _ _ _ _ _ _ _ _ __
Agency: Kansas Highway Patrol                       Agency No. _K_S_K_H_P_Q_0_0_0_ _ _ __
~~~~e~g~:. -~at the person ( offender) promises to appear on or before the date set at o~ with the
